                                            Case 3:18-cv-00634-SI Document 62 Filed 11/07/19 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     SEAN MOORE,                                         Case No. 18-cv-00634-SI
                                   8                    Plaintiff,
                                                                                             ORDER ON MOTION TO CONTINUE
                                   9             v.
                                                                                             Re: Dkt. No. 57, 60
                                  10     CITY AND COUNTY OF SAN
                                         FRANCISCO, et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                              Having reviewed the parties’ papers, the Court hereby GRANTS defendants’ motion to
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                                       continue the trial date. Plaintiff’s administrative motion to file under seal is granted. The trial is
                                  15
                                       now set for April 6, 2020 with the pretrial conference set for March 24 at 3:30 p.m. The parties
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                                       shall submit their pre-trial papers no later than March 17, 2020.
                                  17
                                              Summary judgment motions must be filed on or before February 7, 2020. Oppositions are
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                                       due February 21, 2020 and replies on February 28, 2020. The hearing on motions for summary
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                                       judgment shall take place on March 13, 2020 at 10:00 a.m.
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                                              The Court further orders the San Francisco District Attorney’s office to make a decision
                                  21
                                       regarding whether defendants will be criminally charged on or before January 10, 2020 and to
                                  22
                                       inform the Court of its decision by no later than that date.
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                                              IT IS SO ORDERED.
                                  25
                                       Dated: 11/7/19
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                                                                                        ______________________________________
                                  27                                                    SUSAN ILLSTON
                                                                                        United States District Judge
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